          Case 4:21-cr-00036-KGB Document 155 Filed 10/06/21 Page 1 of 9




                             UNITED STATES DISTRICT COURT
                             EASTERN DISTRICT OF ARKANSAS                                             DEPCLERK
                                   CENTRAL DIVISION

UNITED STATES OF AMERICA                      )       No. 4:21 CR00036 KGB
                                              )
V.                                            )
                                              )       21 U.S.C.   §§ 841(a)(l), (b)(l)(A), (B), (C)
                                              )     · 21 U.S.C.   § 846
                                              )       18 U.S.C.   §§ 922, (g)(l), 924(c)(l)(A)(i)'
                                              )       18 U.S.C.   § 1071
BRIAN JEFFREY LITTON                          )       18 U.S.C.   § 3147
ROBIN NELSON FLANAGAN                         )
GUSTAVO FLORES, JR.                           )
JOHNNY DOUGLAS PETERS                         )
BRANDI MICHELLE MYERS                         )
LISA MICHELLE PAUL                            )
ZACHARY KYLE SCOTT                            )
WAYNE ALLEN DILLON                            )
KAREN HOSKINS                                 )

                                SUPERSEDING INDICTMENT

THE GRAND JURY CHARGES THAT:

                                            COUNTl

       From in or about February 2020, and continuing to on or about February 2, 2021, in the

Eastern District of Arkansas and elsewhere, the defendants,

                                   BRIAN JEFFREY LITTON
                                 ROBIN NELSON FLANAGAN
                                    GUSTAVO FLORES, JR.
                                 JOHNNY DOUGLAS PETERS
                                 BRANDI MICHELLE MYERS
                                    LISA MICHELLE PAUL
                                 ZACHARY KYLE SCOTT and
                                  WAYNE ALLEN DILLON,

voluntarily and intentionally conspired with each other and other persons known and unknown to

the grand jury, to knowingly and intentionally possess with intent to distribute and to distribute




                                                     1
          Case 4:21-cr-00036-KGB Document 155 Filed 10/06/21 Page 2 of 9




methamphetamine, a Schedule II controlled substance, in violation of Title 21, United States

Code, Sections 841(a)(l).

   1. With.respect to defendants BRIAN JEFFREY LITTON, ROBIN NELSON FLANAGAN,

       GUSTAVO           FLORES,   and   JOHNNY         DOUGLAS     PETERS,     the   amount   of

       methamphetamine involved in the conspiracy attributable him or her as a result of his or

       her own conduct, and the conduct of other co-conspirators reasonably foreseeable to him

       or her, is at least 500 grams of a mixture and substance containing a detectable amount of

       methamphetamine, and at least 50 grams of methamphetamine actual, in violation of Title

       21, United States Code, Section 84l(b)(l)(A).

   2. With respect to defendants BRANDI MICHELLE MYERS, LISA MICHELLE PAUL,

       ZACHARY KYLE SCOTT, and WAYNE ALLEN DILLON, the amount of

       methamphetamine involved in the conspiracy attributable him or her as a result of his or

       her own conduct, and the conduct of other co-conspirators reasonably foreseeable to him

       or her, is at least 50 grams but less than 500 grams of a mixture and substance containing

       a detectable amount of methamphetamine, and at least 5 grams but less than 50 grams of

       methamphetamine actual, in violation of Title 21, United States Code, Section

       841 (b)(1 )(B).

               All in violation of Title 21, United States Code, Section 846.

       1. Before the defendant committed the offense charged in this count, the defendant,

           BRIAN JEFFREY LITTON, had the following final conviction for a serious drug

           felony for which he served more than 12 months of imprisonment and for which he

           was released from serving any term of imprisonment related to that offe~se within 15

           years of the commencement of the instant offense, namely: Conspiracy to Manufacture



                                                    2
          Case 4:21-cr-00036-KGB Document 155 Filed 10/06/21 Page 3 of 9




           more than 500 grams ofMethamphetamine, in the Federal District Court for the Eastern

           District of Arkansas, case number 4:06CR00297 - 1 BSM.

       2. Before the defendant committed the offense charged in this count, the defendant,

           ROBIN NELSON FLANAGAN, had the following final conviction for a serious drug

           felony for which she served more than 12 months of imprisonment and for which she

           was released from serving any term of imprisonment related to that offense within 15

           years of the commencement of the instant offense, namely: Conspiracy to Distribute

           Methamphetamine, in the Federal District Court for the Eastern District of Arkansas,

           case number 4:12CR00213 - 5 KGB.

       3. Before the defendant committed the offense charged in this count, the defendant,

           GUSTAVO FLORES, JR., had the following two final convictions for a serious violent

           felony for which he served more than 12 months of imprisonment:

               a. Aggravated Robbery, in the Pulaski County, Arkansas Circuit Court, case

                   number 19994195A;

               b. Battery 2nd Degree, in the Garland County, Arkansas Circuit Court, case

                   number 1999 228.

                                            COUNT2

       On or about February 17, 2020, in the Eastern District of Arkansas, the defendant,

                                  BRIAN JEFFREY LITTON,

knowingly and intentionally possessed with intent to distribute and distributed a mixture and

substance containing a detectable amount of methamphetamine, a Schedule II controlled

substance, in violation of Title 21, United States Code, Sections 841(a)(l) and 841(b)(l)(C) ..

                                            COUNT3



                                                    3
           Case 4:21-cr-00036-KGB Document 155 Filed 10/06/21 Page 4 of 9




       On or about February 19, 2020, in the Eastern District of Arkansas, the defendant,
       \
                                  BRIAN JEFFREY LITTON,

knowingly and intentionally possessed with intent to distribute and distributed a mixture and

substance containing a detectable amount of methamphetamine, a Schedule II controlled

substance, in violation of Title 21, United States Code, Sections 841(a)(l) and 841(b)(l)(C).

                                           COUNT4

       On or about February 26, 2020, in the Eastern District of Arkansas, the defendant,

                                  BRIAN JEFFREY LITTON,

knowingly and intentionally possessed with intent to distribute and distributed a mixture and

substance containing a detectable amount of methamphetamine, a Schedule II controlled
                ,
substance, in violation of Title 21, United States Code, Sections 841(a)(l) and 841(b)(l)(C).

                                           COUNTS

       On or about March 27, 2020, in the Eastern District of Arkansas, the defendant,

                                  BRIAN JEFFREY LITTON,

knowingly and intentionally possessed with intent to distribute and distributed at least 50 grams,

but less than 500 grams, of a mixture and substance containing a detectable amount of

methamphetamine, a Schedule II controlled substance, in violation of Title 21, United States Code,

Sections 841(a)(l) and 841(b)(l)(B).

       Before the defendant committed the offense charged in this count, the defendant, BRIAN

JEFFREY LITTON, had the following final conviction for a serious drug felony for which he

served more than 12 months of imprisonment and for which he was released from serving any term

of imprisonment related to that offense within 15 years of the commencement of the instant




                                                    4
            Case 4:21-cr-00036-KGB Document 155 Filed 10/06/21 Page 5 of 9




offense, namely: Conspiracy to Manufacture more than 500 grams of Methamphetamine, in the

Federal District Court for the Eastern District of Arkansas, case number 4:06CR00297 - 1 BSM.

                                         · COUNT6

       On or about August 3, 2020, in the Eastern District of Arkansas, the defendant,

                                  BRIAN JEFFREY LITTON,

knowingly and intentionally possessed with intent to distribute and distributed at least 50 grams,

but less than 500 grams, of     a mixture   and substance containing a detectable amount of

methamphetamine, a Schedule II controlled substance, in violation of Title 21, United States Code,

Sections 841(a)(l) and 841(b)(l)(B).

       Before the defendant committed the offense charged in this count, the defendant, BRIAN

JEFFREY LITTON, had the following final conviction for a serious drug felony for which he

served more than 12 months of imprisonment and for which he was released from serving any term

of imprisonment related to that offense within 15 years of the commencement of the instant

offense, namely: Conspiracy to Manufacture more than 500 grams of Methamphetamine, in the

Federal District Court for the Eastern District of Arkansas, case number 4:06CR00297 - 1 BSM.

                                          ·COUNT7

       On or about August 19, 2020, in the Eastern District of Arkansas, the defendant,

                              · JOHNNY DOUGLAS PETERS,

knowingly and intentionally possessed with intent to distribute a mixture and substance containing

a detectible amount of methamphetamine, a Schedule II controlled substance, in violation of Title

21, United States Code, Sections 841(a)(l) and 841(b)(l)(C).

                                            COUNTS

       A.      On or about August 19, 2020, the defendant,



                                                    5
             Case 4:21-cr-00036-KGB Document 155 Filed 10/06/21 Page 6 of 9




                                 JOHNNY DOUGLAS PETERS,

had previously and knowingly been convicted of one or more of the following crimes punishable

by a term of imprisonment exceeding one year:

                1.     Burglary, Pulaski County, Arkansas Circuit Court, 1981 case number

                       unknown;

                2.     Theft by Receiving, Pulaski County, Arkansas Circuit Court, 1982 case

                       number unknown;                                 /


                3.     Violation of the Uniform Controlled Substances Act, Pulaski _County,

                       Arkansas Circuit Court, case number 60CR-87-1469; and

                4.     Drug Paraphernalia, Pulaski County, Arkansas Circuit Court, case number

                       60CR-18-2312.

       B.       On or about August 19, 2020, in the Eastern District of Arkansas, the

defendant,

                                 JOHNNY ,DOUGLAS PETERS,

knowingly possessed, in and affecting commerce, one or more of the following firearms: a Taurus

model PT 809C 9mm handgun, serial number TKM58864, and a Heritage Rough Rider .22 caliber

pistol, serial number G 18164, in violation of Title 18, United States Code, Section 922(g)(l ).

                                            COUNT9

       On or about August 19, 2020, in the Eastern District of Arkansas, the defendant,

                                 JOHNNY DOUGLAS PETERS,

knowingly and intentionally possessed one or more of the following firearms: a Taurus model PT

809C 9mm handgun, serial number TKM58864, and a Heritage Rough Rider .22 caliber pistol,

serial number G 18164, in furtherance of a drug trafficking crime prosecutable in a court of the



                                                     6
          Case 4:21-cr-00036-KGB Document 155 Filed 10/06/21 Page 7 of 9



United States, that is, a violation of Title 21, United States Code, Section 841(a)(l) as set forth in

Count 7 of this Superseding Indictment.

       All in violation of Title 18, United States Code, Section 924(c)(l)(A)(i).

                                            COUNT 10

       On or about November 12, 2020, in the Eastern District of Arkansas, the defendant,

                                 JOHNNY DOUGLAS PETERS,

knowingly and intentionally possessed with intent to distribute at least 50 grams, but less than 500

grams, of a mixture and substance containing a detectable amount of methamphetamine, a

Schedule II controlled substance, in violation of Title 21, United States Code, Sections 841(a)(l)

and 841(b)(l)(B).

                                            COUNT 11

       On or about December 7, 2020, in the Eastern District of Arkansas, the defendant,

                                    ZACHARY KYLE SCOTT,

knowingly and intentionally possessed with intent to distribute a mixture and substance containing

a detectable amount ofmethamphetamine, a Schedule II controlled substance, in violation of Title

21, United States Code, Sections 841(a)(l) and 841(b)(l)(C).

                                            COUNT 12

       On or about January 7, 2021, in the Eastern District of Arkansas, the defendant,

                                 ROBIN NELSON FLANAGAN,

knowingly and intentionally possessed with intent to distribute a mixture and substance containing

a detectable amount of methamphetamine, a Schedule II controlled substance, in violation of Title

21, United States Code, Sections 841(a)(l) and 841(b)(l)(C).




                                                      7
             Case 4:21-cr-00036-KGB Document 155 Filed 10/06/21 Page 8 of 9




                                            COUNT 13

       A.       On or about August 17, 2021, the defendant,

                                   BRIAN JEFFREY LITTON,

had previously and knowingly been convicted of a crime punishable by a term of imprisonment

exceeding one year, that is: Conspiracy to Manufacture more than 500 grams of

Methamphetamine, in the Federal District Court for the Eastern District of Arkansas, case number

4:06CR00297 - 1 BSM.

       B.       On or about August 17, 2021, in the Eastern District of Arkansas, the

defendant,

                                   BRIAN JEFFREY LITTON,

knowingly possessed, in and affecting commerce, a firearm, that is: a Taurus 9mm handgun, serial

number ACC723889, in violation of Title 18, United States Code, Section 922(g)(l ), and did so

while on pretrial release pursuant to an order dated March 1, 2021, from the United States District

Court for the Eastern District of Arkansas, in case number 4:21CR00036 KGB, which order

notified the defendant of the potential effect of committing an offense while on pretrial release, in

violation of Title 18, United States Code, Section 3147(1).

                                            COUNT 14

       On or about August 17, 2021, in the Eastern District of Arkansas, the defendant,

                                       KAREN HOSKINS,

did knowingly and intentionally harbor and conceal Brian Jeffrey Litton, a person for whose arrest

warrant and process had been issued under the provisions of a law of the United States, so as to

prevent the discovery and arrest of Brian Jeffrey Litton, after notice and knowledge of the fact that

a warrant and process had been issued for the apprehension of Brian Jeffrey Litton, and which


                                                     8
           Case 4:21-cr-00036-KGB Document 155 Filed 10/06/21 Page 9 of 9




warrant had been issued on a felony charge, to wit, an order dated May 7, 2021, from the United

States District Court for the Eastern District of Arkansas, in case number 4:21CR00036 KGB, in

violation of Title 18, United States Code, Section 1071.




                               - F0RF-EITURE-ALLEGATION_l

        Upon conviction of one or more crimes charged in Counts 1 through 7 and 10 through 12

of this Superseding Indictment, the defendants, shall forfeit to the United States, under Title 21,

United States Code, Section 853(a)(l ), all property constituting, or derived from, any proceeds the

person obtained, directly or indirectly, as a result of the offense.

                                FORFEITURE ALLEGATION 2

        Upon conviction of one or more crimes charged in Counts 1 through 7 and 10 through 12

of this Superseding Indictment, the defendants, shall forfeit to the United States, under Title 21,

United States Code, Section 853(a)(2), all of the person's property used or intended to be used, in

any manner or part, to commit, or to facilitate the commission of the offense.

                                FORFEITURE ALLEGATION 3

        Upon conviction of one or more crimes charged in Counts 1 through 14 ofthis Superseding

Indictment, the defendants, shall forfeit to the United States, under Title 18, United States Code,

Section 924(d), Title 21, United States Code, Section 853, and Title 28, United States Code,

Section 2461 (c), all firearms and ammunition involved in the commission of the offense.



                     [END OF TEXT. SIGNATURE PAGE ATTACHED.]




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